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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 LA UNION DEL PUEBLO ENTERO, §
 et al.,                     §
                             §
      Plaintiffs,            §
                             § CIVIL ACTION NO. 5:21-CV-00844-XR
         v.                  § (Consolidated Cases)
                             §
 GREGORY W. ABBOTT, et al.,  §
                             §
        Defendants.          §

                 DEFENDANT HARRIS COUNTY DISTRICT ATTORNEY
                     KIM OGG’S RULE 26(a)(3)(A) DISCLOSURES

       Defendant Harris County District Attorney Ogg (“District Attorney Ogg”) submits her

Federal Rule Civil Procedure 26(a)(3)(A) disclosures and pretrial materials.

I.     The name and, if not previously provided, the address and telephone number of each
       witness-separately identifying those the party expects to present and those it may call
       if the need arises.

       District Attorney Ogg may call the following witnesses if the need arises:

       1.       George Jordan, who may be contacted through the undersigned counsel.

       2.       District Attorney Ogg reserves the right to call any witness identified in the pretrial
                disclosures of any other party, including Private Plaintiffs, State Defendants,
                Intervenor Defendants, and the United States.

       3.       District Attorney Ogg reserves the right to supplement this list.

II.    The designation of those witnesses whose testimony the party expects to present by
       deposition and, if not taken stenographically, a transcript of the pertinent parts of the
       deposition.

       Deposition of Isabel Longoria – April 20, 2022
       8:20-25, 9:22-10:5, 139:14-140:18

       Deposition of Senator Carol Alvarado – October 6, 2022
       11:11-12:14, 16:7-21, 190:14-25
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III.   The identification of each document or other exhibit, including summaries of other
       evidence—separately identifying those items the party expects to offer and those it
       may offer if the need arises.

       District Attorney Ogg may offer the following exhibits if the need arises:

       1.       District Attorney Ogg’s March 12, 2022 proposed non-participation stipulation.

       2.       OCA Plaintiffs’ rejection of District Attorney Ogg’s proposed non-participation
                stipulation via e-mail on March 14, 2022.

       3.       District Attorney Ogg’s March 21, 2023 First Amended Responses to OCA
                Plaintiffs’ Second Interrogatories.

       4.       District Attorney Ogg’s March 17, 2023 Responses to the LULAC Plaintiffs’
                Discovery Requests.

       5.       Any written responses served by any other party in this action pursuant to Rules 33,
                34, or 36 of the Federal Rules of Civil Procedure.

       6.       District Attorney Ogg reserves the right to use any document or exhibit identified
                by any other parties in this action.

                                                       Respectfully submitted,

                                                       BUTLER SNOW LLP

                                                       By: /s/ Eric J.R. Nichols
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                                                         ATTORNEYS FOR DEFENDANT
                                                         DISTRICT ATTORNEY KIM OGG,
                                                         IN HER OFFICIAL CAPACITY AS
                                                         HARRIS    COUNTY   DISTRICT
                                                         ATTORNEY
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                            CERTIFICATE OF SERVICE

      I hereby certify that on July 28, 2023, a true and correct copy of the foregoing
document was served on all counsel of record by filing with the Court’s CM/ECF system.

                                               /s/ Eric J.R. Nichols
                                               Eric J.R. Nichols
